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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                    )
 UNITED STATES OF AMERICA,                          )
                                                    )
               Plaintiff,                           )
                                                    )
        v.                                          )      Civil Action No. 20-1580 (RCL)
                                                    )
 JOHN R. BOLTON,                                    )
                                                    )
               Defendant.                           )
                                                    )

                      NOTICE OF SUBSTITUTION OF COUNSEL

       The Clerk of the Court will please enter the appearance of Assistant United States Attorney

Brian P. Hudak as counsel for Plaintiff the United States of America and withdraw the appearance

of former Assistant United States Attorney Daniel F. Van Horn.

Dated: January 25, 2021
       Washington, DC
                                              Respectfully submitted,

                                              MICHAEL R. SHERWIN
                                              Acting United States Attorney


                                              By:           /s/
                                                    BRIAN P. HUDAK
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                                              Attorneys for the United States of America
